                  Case 3:21-cv-05475-JRC Document 1 Filed 07/01/21 Page 1 of 10


 1

 2

 3

 4

 5
                             IN THE UNITED STATES DISTRICT COURT
 6                   FOR THE WESTERN DISTRICT OF WASHINGTON AT TACOMA
 7

 8
     ALANA CHIEFSTICK; LEONA                              NO.
 9   COLEGROVE, as Guardian ad Litem for
     S.C.J., K.C., and L.R.C., minors; MICHAEL            COMPLAINT
10   B. SMITH, Personal Representative of the
     Estate of STONECHILD CHIEFSTICK,                     JURY DEMANDED
11   deceased,
12   Plaintiffs,
13   v.
14   CITY OF POULSBO, a political subdivision of
     the State of Washington; CRAIG KELLER, in
15   his personal capacity; DAN
     SCHOONMAKER, in his personal capacity;
16   TROY GROSSMAN, in his personal capacity,
17   Defendants.
18
             COMES NOW the above-named Plaintiffs, by and through attorneys Gabriel S. Galanda,
19
     Ryan D. Dreveskracht, of Galanda Broadman, PLLC, who allege upon personal knowledge as to
20
     themselves and their own actions and upon information and belief upon all other matters, as follows:
21
                                             I.      PARTIES
22
             1.       Defendant CITY OF POULSBO is a political subdivision of the State of
23
     Washington. City of Poulsbo has various departments, including but not limited to the Poulsbo
24

25
     COMPLAINT - 1                                                           Galanda Broadman PLLC
                                                                             8606 35th Avenue NE, Ste. L1
                                                                             Seattle, WA 98115
                                                                             (206) 557-7509
                 Case 3:21-cv-05475-JRC Document 1 Filed 07/01/21 Page 2 of 10


 1   Police Department (“PPD”), which is responsible for providing law enforcement services within

 2   City of Poulsbo.

 3          2.       Defendant CRAIG KELLER is a PPD officer who, at all times relevant hereto, was

 4   acting within the scope of his employment, and under color of law. Defendant KELLER shot and

 5   killed STONECHILD CHIEFSTICK, an enrolled citizen of the Chippewa Cree Tribe of Montana.

 6   STONECHILD CHIEFSTICK had longstanding kinship ties to the Suquamish People.

 7          3.       Defendant DAN SCHOONMAKER is the former Chief of the PPD, who, at all times

 8   relevant hereto, was acting under color of law. He was responsible for the supervisory decisions

 9   and policies as they relate to Defendant Keller. Defendant Schoonmaker’s acts and omissions were,

10   at all times alleged, affirmatively linked to the behavior of Defendant Keller, in the sense that he

11   required, encouraged, condoned, and/or acquiesced in his acts, omissions, and established practices.

12          4.       Defendant TROY GROSSMAN is the former Deputy Chief of the PPD. At all times

13   relevant hereto, he was acting within the scope of his employment, and under color of law. He was

14   responsible for the supervisory decisions and policies as they relate to Defendant Keller. Defendant

15   Grossman’s acts and omissions were, at all times alleged, affirmatively linked to the behavior of

16   Defendant Keller, in the sense that he required, encouraged, condoned, and/or acquiesced in his

17   acts, omissions, and established practices.

18          5.       Plaintiff ALANA CHIEFSTICK is the decedent’s daughter. She brings claims in

19   her personal capacity for the loss of her right to familial association with her father as guaranteed

20   by the Fourteenth Amendment.

21          6.       Plaintiff LEONA COLEGROVE is the Guardian ad Litem for S.C.J., K.C., and

22   L.R.C., STONECHILD CHIEFSTICK’s minor children. These minors bring claims in their

23   personal capacities for the loss of their right to familial association with their father as guaranteed

24   by the Fourteenth Amendment.

25
     COMPLAINT - 2                                                             Galanda Broadman PLLC
                                                                               8606 35th Avenue NE, Ste. L1
                                                                               Seattle, WA 98115
                                                                               (206) 557-7509
                  Case 3:21-cv-05475-JRC Document 1 Filed 07/01/21 Page 3 of 10


 1           7.       Plaintiff MICHAEL B. SMITH is the Personal Representative of the Estate of

 2   STONECHILD CHIEFSTICK.               Plaintiff SMITH brings all claims available to the Estate of

 3   STONECHILD CHIEFSTICK and all beneficiaries under federal and state law.

 4                                 II.     JURISDICTION AND VENUE

 5           8.       This action arises under Washington State’s wrongful death law and the Constitution

 6   and laws of the United States, including 42 U.S.C. § 1983. This Court has subject matter

 7   jurisdiction pursuant to 28 U.S.C. § 1331 and supplemental jurisdiction over the state law claims

 8   pursuant to 28 U.S.C. § 1367.

 9           9.       Venue is proper in the Western District of Washington pursuant to 28 U.S.C.§

10   1391(b)(1) and (b)(2). The City of Poulsbo is located in this District, and the events and omissions

11   giving rise to the claims in this action occurred in this District.

12           10.      An RCW 4.96.020 Tort Claim was properly and timely filed with the City of Poulsbo

13   on June 16, 2020. Over sixty calendar days have elapsed since the claim was presented to the City.

14   All substantive and procedural requirements of RCW 4.96.020 have been met.

15                                               III.    FACTS

16                      A.     THE WRONGFUL DEATH OF STONECHILD CHIEFSTICK

17           11.      On July 3, 2019, as was tradition for him and his family, Stonechild Chiefstick

18   attended the City of Poulsbo’s Independence Day celebration at the Muriel Iverson Williams

19   Waterfront Park with thousands of his neighbors.

20           12.      At some point in the late afternoon, based on a tip from Poulsbo’s mayor, Defendant

21   Schoonmaker and three other officers responded to a report of a man in a backwards black baseball

22   hat that was acting belligerent.

23           13.      Defendant Schoonmaker and his colleagues approached Stonechild and told him that

24   they had received a report about him. However, recognizing Stonechild posed no threat, one of the

25
     COMPLAINT - 3                                                            Galanda Broadman PLLC
                                                                              8606 35th Avenue NE, Ste. L1
                                                                              Seattle, WA 98115
                                                                              (206) 557-7509
               Case 3:21-cv-05475-JRC Document 1 Filed 07/01/21 Page 4 of 10


 1   officers gave Stonechild a fist-bump and told him to enjoy the festivities. Stonechild, a father of

 2   five, responded, “I’m trying.”

 3          14.      As dusk sank in, at 9:22 p.m., a civilian complaint was made to PPD officer Stan Gil

 4   regarding a large man possessing a screwdriver.

 5          15.      Some of the responding officers were carrying only lethal weapons and did not

 6   possess a non-lethal weapon such as a Taser.

 7          16.      Amongst the responding officers there was no plan, tactic, strategy, or

 8   communication on how to approach the man.

 9          17.      Despite no indication that Stonechild posed an imminent risk of harm to anyone, and

10   without issuing a clear command, Defendant Keller attempted to grab Stonechild from behind.

11   Stonechild attempted to de-escalate the situation, telling officers to “chill out.” He freed himself

12   from Defendant Keller’s grasp and, according to witnesses, “started walking away” and “lumbering

13   over the people” at the festival “trying to quickly get away from the officer.”

14          18.      Defendant Keller’s body camera then allegedly “fell off.”

15          19.      As Stonechild was retreating, the involved officers yelled “Hey!,” “Back the fuck

16   up,” “Screwdriver,” and “Get on the fucking ground” simultaneously.

17          20.      Stonechild then tripped and fell onto a concrete cart path.

18          21.      As he hit the ground, one witness “saw whatever he had go flying.” Another saw

19   that “a screwdriver of some sort went flying through the air.” In other words, Stonechild was

20   completely unarmed at this point.

21          22.      After landing on the path, Stonechild, according to witnesses, “went to do another

22   hop, like he was trying to get away from the officer or get through the crowd.”

23          23.      Officer Keller then fired two shots at Stonechild, hitting him once in the head and

24   once in the torso.

25
     COMPLAINT - 4                                                            Galanda Broadman PLLC
                                                                              8606 35th Avenue NE, Ste. L1
                                                                              Seattle, WA 98115
                                                                              (206) 557-7509
                  Case 3:21-cv-05475-JRC Document 1 Filed 07/01/21 Page 5 of 10


 1              24.   Defendant Schoonmaker has since said that he knows of only one other instance

 2   during which a PPD officer’s body camera has fallen off. On that instance too, in 2018, the wearer

 3   was Defendant Keller.

 4              25.   Defendant Keller did not pursue a career in law enforcement until his 40s and was

 5   thus inexperienced and undertrained at the time of the relevant events.

 6              26.   Defendant Keller harbored bias against Stonechild, having previously searched

 7   Stonechild’s name in a police database.

 8              27.   Within thirteen seconds of initiating the encounter, and in a crowd full of several

 9   hundred citizens, including many children and Suquamish tribal members, Defendant Keller

10   discharged his firearm twice.

11              28.   A witness described being “surprised at how quickly it escalated.” Others said, “the

12   amount of time between the police officers saying ‘stop’ and the gun being fired could not have

13   been more than 1.5 to 2 seconds”; Stonechild was shot “in the blink of an eye”; and it “felt like

14   watch[ing] a murder.”

15              29.   After firing the shots, perhaps reflecting on his deliberately indifferent use of lethal

16   force, Keller shouted an expletive and placed his hands on his head. He paced in circles and gasped

17   for air.

18              30.   Though Stonechild was clearly severely wounded, no emergency aid was rendered

19   for minutes after Defendant Keller fired the two shots. In fact, witnesses reported that Stonechild

20   was immediately handcuffed, despite the fact that he was clearly incapacitated.

21              31.   Stonechild was pronounced dead at the scene at 10:04 p.m. The coroner classified

22   his death as a homicide.

23              32.   At no point was Stonechild asked to leave the celebration.

24

25
     COMPLAINT - 5                                                               Galanda Broadman PLLC
                                                                                 8606 35th Avenue NE, Ste. L1
                                                                                 Seattle, WA 98115
                                                                                 (206) 557-7509
                  Case 3:21-cv-05475-JRC Document 1 Filed 07/01/21 Page 6 of 10


 1           33.      At no point did Stonechild possess a deadly weapon, let alone point one at any

 2   officers or civilians.

 3           34.      At no point did Stonechild threaten to harm or kill any officers or civilians.

 4   B.       POULSBO POLICE DEPARTMENT POLICIES, CUSTOMS, AND ESTABLISHED PRACTICES

 5           35.      PPD has a policy, custom, and established practice of condoning and encouraging

 6   the type of shoot-first, ask-questions-later mentality deployed by Keller.

 7           36.      PPD also has a policy, custom, and established practice of failing to supervise and

 8   train its officers to use deadly force as a last resort, as required by generally accepted police

 9   practices.

10           37.      In addition, PPD also has a policy, custom, and established practice of racial

11   discrimination and/or bias as a result of inadequate training that amplified Keller’s perception of

12   threat when there was none—or, at the very least, none sufficient to justify the use of deadly force.

13           38.      Defendant Schoonmaker, for instance, implemented a policy and custom at PPD of

14   not adequately reviewing officers uses of force and other metrics to determine if there are any

15   patterns that need correcting, in violation of the PPD’s written policy. Had this analysis been

16   completed, it would have come to light that Defendant Keller had 20% of the uses of force for the

17   department including at least one violation and another instance in which he did not turn his camera

18   on. Defendant Keller also had 20% of the arrests of the entire department. This is a textbook

19   example of an unconstitutional policy and custom “designed to give officials the motivation to ‘take

20   refuge’ in the zone between ignorance and actual knowledge.” Mayoral v. Sheahan, 245 F.3d 934,

21   940 (7th Cir. 2001).

22           39.      Each of these policies, customs, and established practices, described above and in

23   other respects as well, were a direct, proximate cause of Stonechild’s wrongful death.

24

25
     COMPLAINT - 6                                                              Galanda Broadman PLLC
                                                                                8606 35th Avenue NE, Ste. L1
                                                                                Seattle, WA 98115
                                                                                (206) 557-7509
                 Case 3:21-cv-05475-JRC Document 1 Filed 07/01/21 Page 7 of 10


 1                                              IV.    CLAIMS

 2                             A.         FIRST CAUSE OF ACTION: NEGLIGENCE

 3           40.     All Defendants owed a duty to Plaintiffs to act as reasonable prudent persons.

 4           41.     “This duty applies in the context of law enforcement and encompasses the duty to

 5   refrain from directly causing harm to another through affirmative acts of misfeasance”—a duty that

 6   was breached by Defendants. Beltran-Serrano v. City of Tacoma, 193 Wash. 2d 537, 550, 442 P.3d

 7   608, 614 (2019)

 8           42.     At all times relevant to this case, all individually named Defendants were acting

 9   within the course and scope of their employment. The City of Poulsbo is liable for the negligence

10   of the individually named Defendants.

11         43.       Defendants City of Poulsbo, Schoonmaker and Grossman had a duty of care to

12   properly train officers to handle arrests without using excessive force and brutality and, as officers,

13   to carry out arrests without using excessive force and brutality.

14         44.       By virtue of the facts set forth above, Defendants, as law enforcement agents of the

15   City of Poulsbo, breached their duty to act as reasonable law enforcement officers by failing,

16   neglecting and/or refusing to properly and fully discharge their responsibilities.

17         45.       Defendants City of Poulsbo, Schoonmaker, and Grossman were responsible for

18   training and supervising the individually named Defendants and possessed a duty to adequately

19   train and supervise those Defendants. Defendants acted negligently by failing to adequately and

20   properly train and supervise the individually named Defendants with respect to the discharge of

21   their responsibilities and duties.

22         46.       As a proximate cause of Defendants’ breach of their duty to act as reasonable law

23   enforcement officers, and to train and supervise the individually named Defendants, Plaintiffs have

24   suffered harm, entitling Plaintiffs to damages in an amount to be proven at trial, including, but not

25
     COMPLAINT - 7                                                             Galanda Broadman PLLC
                                                                               8606 35th Avenue NE, Ste. L1
                                                                               Seattle, WA 98115
                                                                               (206) 557-7509
                 Case 3:21-cv-05475-JRC Document 1 Filed 07/01/21 Page 8 of 10


 1   limited to, loss of income, loss of liberty, shock, extreme emotional distress, anxiety, and

 2   humiliation, all of which have resulted in general damages for pain and suffering in an amount to

 3   be proven at trial.

 4                         B.      SECOND CAUSE OF ACTION: ASSAULT AND BATTERY

 5            47.       Defendant Keller intentionally, and without consent, opened fire on Stonechild

 6   as he ran away, attempting to injure Stonechild and cause bodily harm.

 7            48.       Defendant Keller fired two shots, at Stonechild, causing him bodily harm and death.

 8            49.       As a trained police officer, Defendant Keller knew his gun was a deadly weapon and

 9   could not have fired shots without the intent to cause harm to Stonechild.

10            50.       Because the City of Poulsbo could have prevented this battery by the exercise of due

11   care by government employees, the City of Poulsbo is liable for its own negligence that resulted in

12   the assault and battery of Stonechild.

13            51.       As a proximate result of the acts alleged herein, Stonechild, his children, and his

14   estate suffered harm at the hands of Defendants, entitling Plaintiffs to damages in an amount to be

15   proven at trial.

16       C.         THIRD CAUSE OF ACTION: 42 U.S.C. § 1983 - EXCESSIVE FORCE AND BRUTALITY

17         52.          By virtue of the facts set forth above, all Defendants are liable for the deprivation of

18   Stonechild’s civil rights guaranteed by the Fourth Amendment to the Constitution of the United

19   States and 42 U.S.C. § 1983, to be free from the use of excessive force and physical brutality.

20         53.          By virtue of the facts set above, Defendant City of Poulsbo is liable under Monell v.

21   Department of Social Services of City of New York, 436 U.S. 658 (1978), in that a policy or custom

22   can be inferred from a showing of ratification of an unconstitutional act and PPD’s policies,

23   customs, and established practices.

24

25
     COMPLAINT - 8                                                                 Galanda Broadman PLLC
                                                                                   8606 35th Avenue NE, Ste. L1
                                                                                   Seattle, WA 98115
                                                                                   (206) 557-7509
                Case 3:21-cv-05475-JRC Document 1 Filed 07/01/21 Page 9 of 10


 1   D.   FOURTH CAUSE OF ACTION: 42 U.S.C. § 1983, DEPRIVATION OF FAMILIAL RELATIONSHIP

 2          54.      By virtue of the facts set forth above, all Defendants are liable for the deprivation of

 3   civil rights of the non-estate Plaintiffs, in their individual capacities, guaranteed by the Fourteenth

 4   Amendment of the Constitution of the United States and 42 U.S.C. § 1983, to be free from the

 5   deprivation of their liberty interest in a familial relationship with Stonechild without due process of

 6   the law.

 7                                              V.     JURY DEMAND

 8        55.        Plaintiffs hereby demand a trial by jury.

 9                                        VI.        RELIEF REQUESTED

10        56.        Damages have been suffered by Plaintiffs and to the extent any state law limitations

11   on such damages are purposed to exist, they are inconsistent with the compensatory, remedial

12   and/or punitive purposes of 42 U.S.C. § 1983, and therefore any such alleged state law limitations

13   must be disregarded in favor of permitting an award of the damages prayed for herein.

14        57.        WHEREFORE, Plaintiffs request a judgment against all Defendants:

15        (a)        Fashioning an appropriate remedy and awarding economic and noneconomic

16   damages, including damages for pain, suffering, terror, loss of consortium, and loss of familial

17   relations, and loss of society and companionship pursuant to 42 U.S.C. §§ 1983 and 1988, in an

18   amount to be determined at trial;

19        (b)        Punitive damages;

20        (c)        Awarding reasonable attorneys' fees and costs pursuant to 42 U.S.C. § 1988, or as

21   otherwise available under the law;

22        (d)        Declaring Defendants jointly and severally liable;

23        (e)        Awarding any and all applicable interest on the judgment; and

24        (f)        Awarding such other and further relief as the Court deems just and proper.

25
     COMPLAINT - 9                                                              Galanda Broadman PLLC
                                                                                8606 35th Avenue NE, Ste. L1
                                                                                Seattle, WA 98115
                                                                                (206) 557-7509
             Case 3:21-cv-05475-JRC Document 1 Filed 07/01/21 Page 10 of 10


 1         Respectfully submitted this 1st day of July 2021.

 2                                                      GALANDA BROADMAN, PLLC

 3                                                      s/Gabriel S. Galanda
                                                        Gabriel S. Galanda, WSBA #30331
 4                                                       s/Ryan D. Dreveskracht
                                                        Ryan D. Dreveskracht, WSBA #42593
 5                                                      Attorneys for Plaintiffs
                                                        P.O. Box 15146 Seattle, WA 98115
 6                                                      (206) 557-7509 Fax: (206) 299-7690
                                                        Email: ryan@galandabroadman.com
 7                                                      Email: gabe@galandabroadman.com
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
     COMPLAINT - 10                                                     Galanda Broadman PLLC
                                                                        8606 35th Avenue NE, Ste. L1
                                                                        Seattle, WA 98115
                                                                        (206) 557-7509
